                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TENNESSEE
                           DIVISION AT KNOXVILLE

    DYLLAN M. RIVES, an Individual,                 )
                                                    )
                  AND                               )
                                                    )            l~OV 1 8 2U22
    JAMES R. RIVES, an Individual,                  )
                                                    )     Cler,,, U. S. District Court
                        Plaintiffs,                 )    Eastern District of Tennessee
                                                                  At Knoxv il le
                                                    )
       V.                                           )
                                                    )
    UNIVERSITY OF TENNESSEE; a quasi-                )
          Governmental Corporation;                 )
    DONDE PLOWMAN, Individually And As              )
          Chancellor of UNIVERSITY OF               )
         TENNESSEE;                                 )
    UNIVERSITY OF TENNESSEE COLLEGE                 )
          OF VETERINARY MEDICINE                     )
          (UTCVM), a quasi- Governmental            )
          Corporation;                              )
    JAMES THOMPSON, Individually And                )      CIVIL ACTION NO.
         As Dean of UTCVM;
    JOHN and ANN TICKLE SMALL ANIMAL               )
                                                    )
                                                           CV#     J~ai-cv-4l4
          HOSPITAL (UTSAH),                        )
          a quasi- Governmental Corporation;       )
                                                                   ~(\<:ex{        ('(titoDk
    JUERGEN SCHUMACHER, Individually               )
         And As Department Head of UTSAH;          )       Trial by Jury
    LESLIE WERESZCZAK, Individually And As         )
         Director of Emergency and Critical Care   )
          ofUTSAH;                                 )
    KIMBERLY ANDERSON, an Individual;              )
    VIRGINIE WURLOD-T ALBOT, an Individual;        )
    CAITLIN McMANEMON, an Individual;              )
    BRETT HOGBERG, an Individual;                  )
    JACK LEE, an Individual;                        )
                                                   )
            AND                                    )
                                                   )
    Other Unnamed Individuals;                     )
                                                   )
                        Defendants et. al.         )




Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 1 of 58 PageID #: 1
                                           COMPLAINT

                                  JURISDICTION and VENUE

            1.     This court has subject matter jurisdiction over the above styled action

    pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343 because the cause of action arises

    under federal laws of the United States and because the cause arises as a result of injury

    to constitutionally protected property of the plaintiff(s), as well as deprivation of other

    constitutional rights and privileges. This court also has subject matter jurisdiction over

    the above styled action pursuant to 28 U.S. Code § 1332 because the cause of action is

    between citizens of different States and the amount in controversy exceeds the statutory

    minimum. This court has supplemental jurisdiction over the state-law claims pursuant

    to 28 U.S.C. § 1367. Venue is proper in the eastern division pursuant to 28 U.S.C. §

    1391(b)(2) in that a substantial part of the events or omissions giving rise to plaintiffs'

    claims arose or occurred in this division.

                                             PARTIES

           2.       Plaintiff, Dyllan M. Rives, an individual, is a resident of Oconee County,

    Seneca, South Carolina.

            3.      Plaintiff, James R. Rives, an individual, is a resident of Marshall County,

    Scottsboro, Alabama.

           4.       Hickory Dean Rives (Hickory), a Canine, now decease, was a resident of

    Marshall County, Scottsboro, Alabama. 1




    1
     Hickory was the beloved family member ofDyllan M. Rives, and as such a family
    member collectively of the "Rives", who reside in Marshall County, Alabama. Although
    a beloved family member Hickory was considered property under the laws of the United
    States, and as such he was the personal property of Dyllan M. Rives.


                                                   2
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 2 of 58 PageID #: 2
           5.      University of Tennessee, a quasi-governmental corporation doing business

    in Knoxville, Tennessee.

           6.      Defendant, Donde Plowman, an individual and in her individual capacity

    as the Chancellor of the University of Tennessee.

           7.      Defendant, University of Tennessee College of Veterinary Medicine

    (UTCVM), is a quasi-governmental corporation doing business in Knoxville, Tennessee.

           8.     Defendant, James Thompson, an individual and in his individual capacity

    as the Dean of the UTCVM.

           9.     Defendant, John and Ann Tickle Small Animal Hospital (UTSAH), is a

    quasi-governmental corporation doing business in Knoxville, Tennessee.

           10.    Defendant, Juergen Schumacher (Schumacher), an individual and in his

    individual capacity as Department Head of Small Animal Clinical Sciences of UTCVM.

           11.    Defendant, Leslie Wereszczak (Wereszczak), an individual and in her

    individual capacity as Director of Emergency and Critical Care at UTCVM/UTSAH.

           12.    Defendant, Kimberly Anderson, an individual, is a Clinical Assistant

    Professor of Neurology, Small Animal Clinical Sciences at UTCVM/UTSAH.

           13.    Defendant, Virginie Wurlod-Talbot (Wurlod), an individual, is an

    Assistant Professor of Small Animal Emergency and Critical Care at Louisiana State

    University (LSU) School of Veterinary Medicine.

           14.    Defendant, Caitlin McManemon, an individual, is a resident in the

    Department of Neurology, Small Animal Clinical Sciences at UTCVM/UTSAH.

           15.    Defendant, Brett Hogberg, an individual, is a resident in the Department of

    Small Animal Clinical Sciences at UTCVM/UTSAH.




                                                3
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 3 of 58 PageID #: 3
             16.   Defendant, Jack Lee, an individual, is a resident in the Department of

    Small Animal Clinical Sciences at UTCVM/UTSAH.

                                                FACTS

             17.   On January 4, 2022, Hickory was seen on home video injuring himself in

    his kennel.

             18.   On January 5, 2022, Hickory was taken to his primary care veterinarian at

    Phillips Small Animal Clinic (PSAC), 19855 John T. Reid Parkway, Scottsboro, AL

    35768.

             19.   At Hickory's initial visit with PSAC, he was diagnosed as having a

    pinched nerve, and was given a shot of prednisone along with a prescription for

    doxycycline and prednisone with directions to bring him back if his condition worsened.

             20.   On January 8, 2022 Hickory began having trouble eating due to excessive

    frothy salivation.

             21.    On January 8, 2022, PSAC was contacted regarding Hickory's condition,

    but PSAC was unable to see him due to weekend scheduling.

             22.   A referral was requested from PSAC.

             23.    On January 10, 2022, Hickory was seen by Dr. Melissa Mays at VCA

    Regional Institute for Veterinary Emergencies and Referrals (VCA), 2132 Amnicola

    Highway, Chattanooga, Tennessee.

             24.    On January 11, 2022, VCA referred Hickory to UTCVM for Magnetic

    Resonance Imaging (MRI).

             25.    On January 11, 2022, Caitlin McManemon (McManemon), a resident of

    UTCVM working at UTSAH diagnosed Hickory as having Myasthenia Gravis (MG), an




                                                4
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 4 of 58 PageID #: 4
    immune-mediated neuromuscular condition based on a neurological exam and a positive

    Tensilon Test. 2

            26.       Myasthenia gravis is a condition seen in people as well as animals with an

    approximate incidence rate of between 14-40 per 100,000 people in the United States.

    Myasthenia Gravis - NORD (National Organization for Rare Disorders)

    (http://rarediseases.org).

            27.       There is no known isolated cause of MG. Generally, MG is considered to

    be idiopathic in nature, but MG can also be iatrogenic (medically induced or caused by

    examination or treatment). Mehyar Mehrizi MD, Rodrigue F. Fontem MS, Tiffany R.

    Gearhart MS, and Robert M. Pascuzzi, MD Department of Neurology Indiana University

    School of Medicine: Medications and Myasthenia Gravis (A Reference for Health Care

    Professionals).

    https://myasthenia.org/portals/0/draft_medications_and_myasthenia_gravis_for_M GF A_

    website_8%2010%2012. pdf.

            28.       At Dyllan Rives' request McManemon viewed the video of Hickory

    injuring himself in his kennel, but McManemon said it did not change her diagnosis.

    Hickory was admitted to the Emergency Critical Care (ECC) unit at UTSAH/UTCVM.




    2
     A Tensilon test is a diagnostic test used to evaluate myasthenia gravis (MG), a
    neuromuscular condition. To test for MG, Hickory was given edrophonium, a fast-acting
    short lived reversible acetylcholinesterase inhibitor (ChEI) that acts by increasing
    acetylcholine at the neuromuscular junction (NMJ). Naji A, Owens ML. Edrophonium.
    [Updated 2021 Jul 17]. In: StatPearls [Internet]. Treasure Island (FL): StatPearls
    Publishing; 2022 Jan-. Available from:
    https://www.ncbi.nlm.nih.gov/books/NBK554566/. The neuromuscular junction,
    synapse, also called neuronal junction, is the site of transmission of electric nerve
    impulses between two nerve cells (neurons) or between a neuron and a gland or muscle
    cell (effector). https://www.britannica.com/science/neuromuscular-junction


                                     5
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 5 of 58 PageID #: 5
           29.     On or about January 11 or 12, 2022, Dyllan Rives suggested a computed

    tomography (CT or CAT) scan in lieu of the MRI, but UTSAH and McManemon chose

    not to do either the MRI or CT.

           30.      On January 13, 2022, Hickory was discharged with a prescription for

    pyridostigmine bromide, Mestinon™, at the rate of 1/4 tablet (15 mg) and Augmentin an

    antibiotic (500 mg tablet) every 12 hours. 3

           31.     Pyridostigmine, similar to edrophonium, is another ChEI, however,

    pyridostigmine's effects are long acting. Cholinesterase Inhibitors (ChEis) increase

    acetylcholine at the NMJ by inhibiting acetylcholinesterase (AChE), the enzyme

    responsible for breaking down acetylcholine, at the nerve junction or synapse. By

    inhibiting the enzyme responsible for breaking down acetylcholine the amount of

    acetylcholine within the synaptic junction is increased. See footnote 2 supra.

           32.     "Taking too much pyridostigmine (Mestinon) can cause muscle

    weakness. However, muscle weakness is also a sign of worsening myasthenia gravis."

    (Emphasis supplied). Pyridostigmine (Mestinon): Basics, Side Effects & Reviews.

    https://www.goodrx.com/pyridostigmine/what-is

           33.     Antibiotics including penicillin and other drugs have been associated with

    increased myasthenic weakness.

    https://myasthenia.org/portals/0/draft_medications_and_myasthenia_gravis_for_MGF A_

    website_8%2010%2012.pdf; see also Vacchiano V, Solli P, Bartolomei I, Lai G, Liguori


    3
     An X-ray indicated Hickory had aspiration pneumonia and megaesophagus (a
    multifaceted condition of the esophagus which affects the ability to move food into the
    stomach). Accordingly, Hickory was prescribed Augmentin to treat his pneumonia and
    special feeding instruction were given to address the megaesophagus. Dyllan Rives was
    instructed to get an X-ray prior to discontinuing Augmentin to make sure the pneumonia
    resolved.


                                                   6
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 6 of 58 PageID #: 6
    R, Salvi F. Exacerbation of myasthenia gravis after amoxicillin therapy: a case series.

    Neurol Sci. 2020 Aug;41(8):2255-2257. doi: 10.1007/s10072-020-04387-5. Epub 2020

    Apr 15. PMID: 32296986; see also ,r 27 supra.

           34.     "Excessive accumulation of acetylcholine (ACh) at the neuromuscular

    junctions and synapses causes symptoms of both muscarinic and nicotinic toxicity. 4

    These include cramps, increased salivation, lacrimation, muscular weakness,

    paralysis, muscular fasciculation, diarrhea, and blurry vision. (Emphasis supplied).

    Adeyinka A, Kondamudi NP. Cholinergic Crisis. [Updated 2022 May 2]. In: StatPearls

    [Internet]. Treasure Island (FL): StatPearls Publishing; 2022 Jan-. Available from:

    https://www.ncbi.nlm.nih.gov/books/NBK482433/

           35.     Too much ChEis can lead to a cholinergic crisis. "A cholinergic crisis

    develops as a result of overstimulation of nicotinic and muscarinic receptors at the

    neuromuscular junctions. This is usually secondary to the inactivation or inhibition of

    acetylcholinesterase (AChE), the enzyme responsible for the degradation of acetylcholine

    (ACh). Excessive accumulation of acetylcholine (ACh) at the neuromuscular junctions

    and synapses causes symptoms of both muscarinic and nicotinic toxicity." Id.

           36.     Upon discharge McManemon explained to Dyllan Rives she would be the

    "eyes and ears" in regards to her (McManemon's) ongoing care of Hickory. McManemon

    instructed Dyllan Rives to increase the pyridostigmine dose to 1/4 tablet every eight

    hours beginning January 14, 2022.



    4
     "The nicotinic receptor is a channel protein that, upon binding by acetylcholine, opens to
    allow diffusion of cations. The muscarinic receptor, on the other hand, is a membrane
    protein; upon stimulation by neurotransmitter, it causes the opening of ion channels
    indirectly, through a second messenger." https://www.britannica.com/science/nicotinic-
    receptor


                                                 7
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 7 of 58 PageID #: 7
              37.   McManemon also told Dyllan Rives to increase the pyridostigmine dose to

    3/8 tablet (22.5 mg) every eight hours if Hickory showed signs of muscle weakness in the

    future.

              38.   Additional charges for continued consultations and care for Hickory were

    included.

              39.   From January 14, 2022 to January 21, 2022, Hickory did well and

    tolerated his medications, and McManemon and UTCVM were informed via the email

    address given at discharge.

              40.   On January 25, 2022, per instructions upon discharge, Hickory was seen

    by VCA for an X-ray prior to discontinuing the Augmentin.

              41.   VCA called later in the day to inform Dyllan Rives, the X-ray showed

    Hickory did not have megaesophagus or pneumonia.

              42.   At this visit, VCA gave Dyllan Rives a list of drugs with possible adverse

    side effects to pyridostigmine. Atropine was on the list as a drug to be used with caution

    because of the potential for masking a cholinergic crisis. 5

              43.   On January 26, 2022, Hickory was given the last dose of his 14-day

    Augmentin regimen.

              44.   On January 27, 2022 into January 28, 2022, Hickory began having

    increased salivation and hacking.



    5
     Atropine is a drug used to treat symptoms of ChEI inhibitor overdose. "Atropine acts as
    a direct antidote physiologically by antagonizing the muscarinic receptor's actions of
    excessive acetylcholine such as bronchorrhea, bradycardia, salivation, and
    bronchoconstriction. Atropine can cross the blood-brain barrier and can help decrease the
    activity of centrally acting excess acetylcholine." (Emphasis supplied)
    https://www.ncbi.nlm.nih.gov/books/NBK539783/#:~:text=Atropine%20acts%20as%20a
    %20direct,of%20centrally%20acting%20excess%20acetylcholine


                                     8
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 8 of 58 PageID #: 8
             45.   On January 28, 2022, McManemon and Dyllan Rives exchanged emails

    regarding Hickory's X-ray results, the megaesophagus, the increased salivation, and

    concerns about the possibility Hickory was receiving too high a dose of pyridostigmine.

             46.   On January 29, 2022, Dyllan Rives sent an email to UTSAH/UTCVM and

    McManemon at the email address given upon discharge expressing multiple concerns

    over Hickory's ever increasing muscle weakness. In the email, Dyllan Rives created a

    link to a Google folder sharing videos of Hickory's increasing weakness.

             47.   On January 30, 2022, without feedback from McManemon and

    UTSAH/UTCVM for several days, Dyllan Rives, per McManemon's oral instructions

    upon discharge increased the pyridostigmine dose to 3/8 of a tablet (22.5 mg) every eight

    hours.

             48.   On January 31, 2022, Dyllan Rives sent an email regarding the increase in

    muscle weakness exhibited by Hickory.

             49.   On February 2, 2022, after five days without hearing from

    UTSAH/UTCVM, Dyllan Rives finally received a response from McManemon.

             50.   McManemon's recommendation was to continue to give pyridostigmine at

    the rate of 1/2 tablet (30 mg) every eight hours despite Hickory's increased weakness

    with the increase in pyridostigmine dose.

             51.   Because Hickory had been doing good prior to stopping Hickory's

    Augmentin, Dyllan Rives requested a prescription.

             52.   Later on, February 2, 2022, after giving two (1/2 tablet (30 mg)) doses as

    McManemon recommended, Hickory's condition deteriorated significantly. Dyllan Rives

    emailed a video to McManemon expressing her ever increasing concerns.




                                                9
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 9 of 58 PageID #: 9
            53.     Still later on, February 2, 2022, Dyllan Rives telephoned UTCVM's

     emergency department asking for help regarding Hickory's symptoms and ever-

     increasing decline.

            54.     A resident at UTCVM's emergency department returned Dyllan Rives'

     call advising her to return to the original pyridostigmine dose 3/8 of a tablet.

            55.     The instruction was unclear, however, as the original dose was 1/4 of a

     tablet given every 12 hours, so Dyllan Rives reduced the pyridostigmine to 1/4 tablet (15

     mg).

            56.     The UTSAH technician informed Dyllan Rives the prescription for

     Augmentin was sent to the pharmacy as she (Dyllan) requested, but if it helped, Hickory

     would need to be seen by an internalist because Hickory's condition was no longer

     neurological in nature.

            57.     On February 3, 2022, Dyllan Rives and an on-call technician at UTSAH

     exchanged telephone calls regarding Hickory's deteriorating condition.

            58.     In the late evening of February 3, 2022, into the early morning hours of

     February 4, 2022, Hickory experienced a cholinergic event with heavy salivation, gastric

     upset, and tearing, signs of a ChEis overdose.

            59.     Dyllan and Elisa Rives gave Hickory all night nursing care, and by

     morning the extreme salivation episode was beginning to ease, and Hickory was

     breathing better.

            60.     On February 4, 2022, Dyllan Rives spoke to a technician at UTSAH who

     instructed Dyllan Rives to bring Hickory back to UTCVM before noon.




                                                   10
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 10 of 58 PageID #: 10
             61.    Hickory was readmitted to UTSAH for an adjustment to his

     pyridostigmine dose, and UTSAH called for a $1000 dollar deposit. 6

            62.     Later on, February 4, 2022, McManemon telephoned Dyllan Rives

     advising Hickory had aspiration pneumonia again, but it was not as bad as it was in

     January.

            63.     McManemon said it was best for her to titer Hickory's medication at

     UTSAH because "they" (UTCVM) had atropine and suctioning, and because Dyllan

     Rives needed rest. 7

            64.     McManemon said she was going to "challenge" Hickory by not giving

     him pyridostigmine for 24 hours.

            65.     On the morning of February 5, 2022, McManemon telephoned Dyllan

     Rives to inform her Hickory's condition had deteriorated without pyridostigmine, and

     informing Dyllan Rives she (McManemon) was going to give Hickory 1/4 tablet (15 mg).

            66.     Later around noon (Central Standard Time), February 5, 2022,

     McManemon telephoned Dyllan Rives informing her Hickory was doing much better

     since having the pyridostigmine, and McManemon said based on the "challenge" Hickory

     definitely still needed pyridostigmine.

            67.     On the evening of February 5, 2022, Dyllan Rives received another

     telephone call from UTCVM affirming Hickory was responding favorably to 1/4 tablet

     (15mg).




     6
       The record contains two fee estimates, one dated February 4, 2022 for $1500 -$2000,
     for adjustment to medication. The other dated February 13, 2022 for upper end $25000.
     7
       To titer is to regulate the amount or concentration of a substance in a system.


                                                11
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 11 of 58 PageID #: 11
            68.     Dyllan Rives was told Hickory was much brighter than in the morning

     with much better strength, and was able to lift his head up and wag his tail.

            69.     On Sunday February 6, 2022, either McManemon or a student from

     UTCVM telephoned with updates on Hickory's condition, and all indications were

     Hickory was responding favorably to the pyridostigmine dose of 1/4 tablet (15mg) every

     12 hours.

            70.     The Small Animal Intensive Care Unit (SAICU) record reflects on

     February 5, 2022 and February 6, 2022, Hickory received 1/4 tablet (15mg) of

     pyridostigmine at 7:00 a.m. and 7:00 p.m., respectively.

            71.     The SAICU Additional Notes for February 6, 2022, at 1:30 p.m. state: "P

     walked well on own with no support made it to the scale before getting a bit ataxic

     walked from scale to ICU with little support- stopped and didn't want to walk in ICU

     was able to stand with no support for over a minute".

            72.     At 11 :00 p.m. SAICU notes state: "walked pout around lab area then to tx

     1 & back, he walked well w/ minimal support till tx 3, though I think a lot of it was

     stubbornness. We gave him a couple of breaks which he rallied after, but lasted shorter

     times, though once he saw his cage, he was able to walk towards it on his own."

            73.     At 3:00 a.m. SAICU states: "Walked around ICU this time clockwise

     direction. He made it 1 1/4 times around with minimal assistance then rested for 10-20

     sec. then made it 1/2 way around then had to rest for 10-20 sec. then only just made it the

     last 1/4 way to cage before needing to rest."




                                      12
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 12 of 58 PageID #: 12
             74.     During one call on Sunday, February 6, 2022, McManemon recommended

     Hickory be given prednisone (an immunosuppressant), a CT scan8, a thyroid check, and

     another antibody test. Dyllan Rives expressed concerns to McManemon about giving

     prednisone because Hickory had had an earlier adverse reaction, but McManemon

     insisted. 9 See ,r,r 19-20 supra.

             75.     McManemon on February 7, 2022, despite Hickory responding well to the

     pyridostigmine dose of 1/4 tablet every 12 hours, increased Hickory's dosage of

     pyridostigmine to 1/4 tablet every eight hours, and added prednisone.

             76.     Hickory received pyridostigmine at 7:00 a.m., 4:00 p.m. and 11 :00 p.m.

     The SAICU notes for 11 :00 p.m.: " ... noted tearing OS & some nasal discharge, let Dr.

     Mac know. No     ~   now, continue w/ same pyridostigmine dose for now."

             77.     On the morning of February 8, 2022, Dyllan Rives received a telephone

     call from a UTCVM student involved with Hickory's care with an update that Hickory

     was neurologically doing great and able to walk in and out on his own without assistance

     at 3:00 a.m., and that Hickory would be in the Neurological treatment room all day for

     observation prior to going home.

             78.     The SAICU for February 8, 2022 at 5:40 p.m. states: "phas been in TR all

     day. Lethargic, sleeping all day, not wanting to lift head much. Still good appetite, but

     won't lift head readily to eat. Has had lacrimation ( ... ).Brief cough this AM but none

     since. Very weak, and has to be supported at all times today. At 5:30 pm, had to rest after


     8Although  Dyllan Rives had given permission for a CT scan, it was never done even
     though Hickory was fasted on February 6, 2022 in preparation for the procedure.
     9
       Prednisone is known to be a cause of increased muscle weakness in patients with MG.
     https://myasthenia.org/portals/0/draft_medications_and_myasthenia_gravis_for_MGF A_
     website_8%2010%2012. pdf



                                      13
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 13 of 58 PageID #: 13
     5-10 steps, hanging head low, knuckling both FLS. Concerned for SLUD signs, too much

     pyrido. Plan to j prednisone &   t pyrido back to q12h but at higher dose tomorrow."
            79.     On the evening of February 8, 2022, McManemon telephoned with the

     evening update informing Dyllan Rives that Hickory had slept most of the day while in

     the Neurological treatment room. McManemon said something to the effect "I think we

     just need to play with his dose." Concerned, Dyllan Rives asked whether Hickory was

     showing early signs of another cholinergic crisis, and McManemon responded "I don't

     think so."

            80.     On the morning of February 9, 2022, the SAICU record states for 3:00

     a.m.: "Unable to walk, stood for short period then slid to lay down. Carried outside, no

     interest in attempting to urinate/defecate. At 7:12 a.m. "found P w/ large bit ofD+, urine,

     and foaming from the mouth. Called Dr. Mac & she came to evaluate him (Hickory). Per

     Dr. Mac likely a SLUD reaction to Pyridostigmine after not having it for 14 hrs .... "

            81.     "Excessive use of acetylcholinesterase inhibitors (AChEI) in the treatment

     of a patient with MG may precipitate a cholinergic crisis which is characterized by both

     muscarinic and nicotinic toxicity" Lacomis D. Myasthenic crisis. Neurocrit

     Care. 2005;3(3):189-94. PubMed: 16377829.

            82.     On the morning of February 9, 2022, McManemon telephoned informing

     Dyllan Rives atropine had to be administered because according to McManemon

     someone in ECC gave Hickory 3/8 of a tablet (22.5 mg) of pyridostigmine before she

     (McManemon) had been able to examine Hickory.

            83.     Clinician's Orders (CO) for February 9, 2022: Addendum 9:15 a.m.: "DIC

     Pyridostigmine. Atropine 0.5 mg IV given at 8:45 a.m."




                                      14
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 14 of 58 PageID #: 14
             84.     There are "[t]wo types of antidotes ... used for a cholinergic crisis:

     atropine and oximes ... The first antidote is atropine. It is an effective agent for the

     muscarinic effect of acetylcholine ... " Adeyinka A, Kondamudi NP. Cholinergic Crisis.

     [Updated 2022 May 2]. In: StatPearls [Internet]. Treasure Island (FL): StatPearls

     Publishing; 2022 Jan-. Available from:

     https://www.ncbi.nlm.nih.gov/books/NBK482433/

             85.     McManemon without expressing concern said Hickory was cribbed and

     on oxygen.

             86.     McManemon, without going into details about Hickory's condition, said

     Hickory was feeling well enough to push the oxygen mask away from his face.

             87.     In the early evening of February 9, 2022, McManemon telephoned

     regarding Hickory's condition.

             88.     Dyllan Rives informed McManemon, she was on her way to pick up

     Hickory to take him to North Carolina State University where he could receive

     Therapeutic Plasma Exchange (TPE). 10

             89.     McManemon mentioned wanting to place a Nasal Gastric Tube (NGT).

             90.     McManemon said she did not know about transporting a patient on

     oxygen, but Dyllan Rives explained she had an oxygen machine and asked McManemon

     to write a referral.

             91.     McManemon said she would write the referral, but the record does contain

     a referral to NC State.




     10
       TPE, also known as plasmapheresis, removes and replaces a patient's blood plasma to
     treat certain immune mediated diseases like MG.


                                      15
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 15 of 58 PageID #: 15
             92.     Around 1:00 a.m. in the morning of February 10, 2022, Dyllan Rives

     received a telephone call from McManemon.

             93.    Throughout the time McManemon was in charge of Hickory, Dyllan Rives

     had repeatedly been told, "no news is good news", so the call around 1:00 a.m. in the

     early morning terrified her (Dyllan Rives), and she screamed upon answering "no, no, no,

     no".

             94.    When Dyllan Rives finally calmed a little, McManemon said Hickory is

     alive, but he is not doing well.

             95.    McManemon told Dyllan Rives Hickory's oxygen levels were dropping

     and his carbon dioxide levels were rising.

             96.    McManemon, stating ventilation was a matter of life or death, wanted to

     know if she (Dyllan Rives) would agree to Hickory being placed on a ventilator.

             97.    Dyllan Rives, still shaken, responded yes, she would agree to Hickory

     being placed on the ventilator to save his life.

             98.    The SAICU record reflects Jack Lee (Lee), an ECC attending resident, in

     coordination with McManemon gave Hickory neostigmine multiple times after

     McManemon called Dyllan Rives at 1:00 a.m. (EST).

             99.    The SAICU notes for February 10, 2022 at 5:00 a.m. state: "SPO2 97-99

     when flat probe pressed on base of tail. Hypersalivation has seemed to have decreased

     over the last few hours, mouth still needs to be suctioned. MM color is better-more pink

     than before. At 4:00 am drank 24 ml of water from syringe very well .... At 5:10 drank

     another 50 ml of water from syringe very well ... At 7:26 am: Per Dr. Mac gave a second

     dose ofNeostigmine 0.99 mg SQ .... "




                                      16
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 16 of 58 PageID #: 16
            100.    Neostigmine is another ChEI, which increases acetylcholine by inhibiting

     acetylcholinesterase.

            Cholinergic toxicity is caused by medications, drugs, and substances that
            stimulate, enhance or mimic the neurotransmitter acetylcholine.
            Acetylcholine is the primary neurotransmitter of the parasympathetic
            nervous system. Acetylcholine stimulates muscarinic and nicotinic
            receptors to cause muscle contraction and glandular secretions.
            Cholinergic toxicity occurs when too much acetylcholine is present in the
            receptor synapse leading to excessive parasympathetic effects. . .
            Cholinergic drugs may cause a cholinergic crisis during clinical use or
            after an overdose. These drugs include drugs used to treat myasthenia
            gravis such as edrophonium and neostigmine ... Essentially, any agent
            that creates an abundance of acetylcholine at the synapse may cause
            cholinergic toxicity. These drugs may cause weakness, but a
            cholinergic crisis is very rare with drugs taken at therapeutic doses.
            (Emphasis                                                      supplied).
            https://www.ncbi.nlm.nih.gov/books/NBK539783/#:~:text=Atropine%20a
            cts%20as%20a%20direct,of0/420centrally%20acting%20excess%20acetylc
            holine.

            101.    Around 8:20 a.m. on February 10, 2022, less than an hour after

     McManemon directed Hickory be administered another dose of neostigmine, Dyllan

     Rives received another call from McManemon.

            102.    McManemon said Hickory was not yet on the ventilator, but ECC wanted

     Dyllan Rives to come see Hickory before he went on the ventilator because only 10 to 15

     percent with pneumonia come off the ventilator.

            103.    McManemon did not mention a cholinergic crisis.

            104.    Dyllan and Elisa Rives arrived at UTCVM around 8:45 a.m. and were

     escorted by McManemon and a student to the ECC to see Hickory.

            105.    Lee, the ECC resident, explained possible complications in regards to

     ventilation, while McManemon stressed ventilation was a life-or-death choice.

     UTSAH/UTCVM was forcing Dyllan Rives to make the first of many Robson's choices.




                                      17
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 17 of 58 PageID #: 17
             106.    Hickory, experiencing severe respiratory distress, had excessive salivation

     with slobber coming out of his mouth and nose. See footnote 11 infra.

             107.    Hickory, heartbreakingly, responded to both Dyllan and Elisa Rives by

     wagging his tale, standing and begging to go home.

             108.    Shortly after the visit UTCVM called for a deposit of $6500 dollars

     bringing the total deposit to $7500.

             109.    Dyllan Rives' practice when receiving telephone calls from McManemon

     and UTCVM was first and foremost to ask "how is Hickory"?

             110.    Dyllan Rives always inquired extensively into Hickory's condition.

             111.    Once Hickory went on the ventilator, Dyllan Rives' inquiries became

     more extensive, inquiring about ventilator settings, vital signs, whether or not Hickory

     was experiencing any SLUD signs, 11 asking when she (Dyllan Rives) could visit Hickory,

     and when Hickory would be weaned from the ventilator.

             112.    On February 10, 2022, in the evening, McManemon telephoned Dyllan

     Rives and informed her Hickory was loving the ventilator.

             113.    McManemon relayed Hickory's vital signs such as blood pressure, heart

     rate, respiratory rate, blood gas levels such as oxygen and carbon dioxide etc., and

     ventilator settings.




     II Signs of ChEis overdose are referred to as (SLUD) signs Salivation Lacrimation
     Urination Diarrhea. Lott EL, Jones EB. Cholinergic Toxicity. [Updated 2022 May 15].
     In: StatPearls [Internet]. Treasure Island (FL): StatPearls Publishing; 2022 Jan. Available
     from: https://www.ncbi.nlm.nih.gov/books/NBK539783/



                                      18
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 18 of 58 PageID #: 18
                114.   McManemon told Dyllan Rives that Hickory was on neostigmine at the

     lowest possible dose to prevent respiratory collapse or paralysis, and Hickory would be

     switched to pyridostigmine later.

                115.   Dyllan Rives asked McManemon if neostigmine had more side effects

     than pyridostigmine, and McManemon said "no".

                116.   Dyllan Rives asked about the possibility of using injectable

     pyridostigmine and McManemon said ''they" (UTSAH) use neostigmine.

                117.   Relying on McManemon's statement about pneumonia, Dyllan Rives

     inquired about Hickory's pneumonia.

                118.   McManemon said the X-ray done when the nasal gastric tube (NGT) was

     placed showed Hickory's pneumonia was the same.

                119.   Dyllan Rives inquired as to whether the X-ray showed Hickory still had

     megaesophagus? McManemon said "nope".

                120.   McManemon said Hickory had received Intravenous Immunoglobulin

     (IVIG) therapy, and the effects would take 48 hours at the earliest. 12

                121.   McManemon had mentioned IVIG therapy to Dyllan Rives prior to

     Hickory going on the ventilator commenting IVIG would have been pointless ifDyllan

     Rives had taken Hickory for TPE.

                122.   McManemon never asked Dyllan Rives for explicit approval to give the

     IVIG.

                123.   McManemon said ECC had suggested an endotracheal tube wash and

     culture.


     12
       Intravenous immunoglobulin ("IVIG") is a product made up of antibodies that can be
     given intravenously to alleviate symptoms for immune disorders.


                                      19
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 19 of 58 PageID #: 19
             124.   Dyllan Rives discussed with McManemon the possibility Hickory had

     gone into remission, but McManemon, referring to the "challenge" said Hickory was

     weak when he went without pyridostigmine for 26 hours. See ,r,r 64-65.

             125.   Dyllan Rives said she wanted to see Hickory twice a day regardless of

     sedation, and McManemon responded it was up to ECC.

             126.   On February 11, 2022, McManemon in her morning telephone call relayed

     Hickory's vitals and ventilator settings, and that Hickory's test for antibodies, used to

     confirm the diagnosis of MG, was negative as was the thyroid test. 13

             127.   McManemon said several additional diagnostics were being suggested

     including an Addison's test, a CT scan, and an electrodiagnostic test, saying "they"

     (McManemon and ECC) were grasping for straws.

             128.   McManemon said she did not recommend the Addison's test because

     Hickory's blood work was not consistent with Addison's disease.

             129.   Dyllan Rives agreed to the electrodiagnostic test.

             130.   Dyllan Rives declined the request for a CT scan because she had already

     agreed to a CT two times before without a CT being done, and because the focus now

     was on getting Hickory off the ventilator. See ,r,r 29, 74.

             131.   Dyllan Rives, still relying on McManemon's statement about pneumonia,

     asked "when will they (ECC) try to wean him" when the pneumonia clears or sooner?

     McManemon's response to Dyllan Rives was ECC was beginning the weaning process.




     13
       Anti-acetylcholine receptor antibody test is used to confirm the diagnosis of MG.
     Myasthenia Gravis - NORD (National Organization for Rare Disorders)
     (http://rarediseases.org); see also ,r 26.



                                      20
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 20 of 58 PageID #: 20
             132.      Dyllan Rives ask "when can we come see him (Hickory)", and the

     response was not right now.

             133.      On February 11, 2022, during the evening update Dyllan Rives asked

     McManemon "when is he going to be weaned?" McManemon replied the ECC critical

     specialist is planning to wean him (Hickory) off tomorrow.

             134.      After Hickory's vitals had been discussed the remaining discussion

     between McManemon and Dyllan Rives concerned the results of the electrodiagnostic

     test, which confirmed a lower neuromuscular condition.

             135.      Dyllan Rives, still laboring under the misrepresentation by McManemon,

     inquired specifically about Hickory's pneumonia, and was told it was about the same.

             136.      On the evening of February 12, 2022, Lee a resident in the ECC,

     telephoned with Hickory's update.

             137.      Lee said Hickory's oxygen and carbon dioxide numbers were adequate on

     the ventilator.

             138.      Lee relayed there had been some positives and negatives in regards to

     Hickory's ventilation explaining Hickory had experienced some clogging issues with the

     endotracheal tube, but once the tube had been cleared Hickory's breathing on the

     ventilator returned to its previous stable state.

             139.      Lee identified the secretions causing the clogging as secretions due to

     pneumonitis and the ventilator (not pneumonia).

             140.      Lee said Hickory was taking a lot of spontaneous breaths, some assisted

     breaths, and the ventilator was providing fewer mandatory breaths.




                                      21
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 21 of 58 PageID #: 21
             141.    Lee, also indicated Hickory was making progress towards being extubated

     off the ventilator, but it was a process.

             142.    Lee explained he gave Hickory two fifteen-minute breathing trials

     "without ventilation" where Hickory was able to breath on his own with Hickory's

     oxygen and carbon dioxide levels remaining in the normal range.

             143.    Elisa Rives asked if it was in fact harder to breathe through the ventilator

     apparatus, and Lee said yes it was harder for Hickory to breathe through the endotracheal

     tube, saying he was encouraged.

             144.    Lee also said he did not want to fatigue Hickory as it was the weekend,

     and he was by himself.

             145.    UTSAH/UTCVM personnel did not assertively push Hickory towards

     being weaned off the ventilator over weekends always asserting there was no one there to

     assist. See 11144, 159.

             146.    On the morning of February 13, 2022, McManemon telephoned with

     Hickory's morning update.

             147.    McManemon said Hickory's oxygen levels had dropped in the early

     morning, but the endotracheal tube had been cleared and oxygen levels stabilized.

             148.    McManemon said Hickory, the day before, had neostigmine with no side

     effects, but after Hickory was given neostigmine at 7:00 a.m. this morning (Sunday), he

     had some diarrhea and some tearing at 8:00 a.m.

             149.    McManemon said she could not confirm it was due to neostigmine.

             150.    McManemon said Hickory was off the opioids, but still on propofol and

     dexmedetomidine, and IV nutrition was started yesterday.




                                      22
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 22 of 58 PageID #: 22
              151.   McManemon then requested another $5000 dollar as payment towards

     UTSAH's custody of Hickory saying the money was "to keep the business office off her

     back."

              152.   During this telephone call, while the telephone was on speaker, Elisa

     Rives made the statement "while we support Hickory, a blank check was not being

     written for any additional mistakes", wherein a back-and-forth exchange between

     McManemon and Elisa Rives regarding Hickory's need to be put on a ventilator ensued.

              153.   McManemon said Hickory required ventilation because he (Hickory) was

     exhausted denying Hickory had been given too much pyridostigmine and/or neostigmine.

     See ,i,i 82, 98, 99, 101.

              154.   Elisa Rives responded atropine is given to counteract the effects of too

     much pyridostigmine (ChEis) not too little. See ,i,i 63, 82-84 and footnote 5.

              155.   This was the last time Dyllan Rives heard from McManemon.

              156.   Dyllan Rives did not hear from anyone in neurology until February 15,

     2022.

              157.   A call from the UTSAH/UTCVM business office followed requesting the

     $5000 dollars bringing the total to $12500 for an estimated cost of $25000 dollars. See

     supra footnote 6.

              158.   That evening on February 13, 2022, a resident in the ECC, Brett Hogberg

     (Hogberg) telephoned with the evening update indicating Hickory had experienced

     additional clogging of the endotracheal tube, but the issue had been successfully resolved.

              159.   Hogberg said he had done only one breathing trial "without ventilation"

     for ten to twelve minutes explaining he did not want to push Hickory in light of the




                                      23
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 23 of 58 PageID #: 23
     weekend and because Hickory was moving towards being extubated in the morning. See

     ,r,r 144-145.
             160.    Hogberg said Hickory was on 40% oxygen, which was considered a low

     oxygen setting, which was good.

             161.    When Dyllan Rives asked about whether Hickory was experiencing SLUD

     signs, Hogberg said "no", and Hickory would receive neostigmine at 7:00 p.m.

             162.    On February 14, 2022, Dyllan Rives became very stressed when there was

     no morning update.

             163.    Around 1:00 p.m. an ECC resident, Mariola Rak (Rak) telephoned, she

     said her name was "Rak" like "Mac".

             164.    Rak relayed Hickory was stable on the ventilator, however, Hickory was

     taking very few spontaneous breaths.

             165.    Dyllan Rives, relying on McManemon's, Lee's and Hogberg's reports

     over the weekend, was expecting to hear Hickory was off the ventilator. See ,r,r 131, 133,

     141, 159.

             166.    Rak said Hickory was just not responding to neostigmine so no more was

     given after 7 a.m. Sunday, February 13, 2022.

             167.    Dyllan Rives was completely blindsided given her discussion with

     Hogberg the previous evening. See   ,r 161.
             168.    McManemon had previously declared to Dyllan Rives, Hickory needed

     ChEis (neostigmine/pyridostigmine) based on the "challenge". See ,r,r 64, 65, 124.




                                      24
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 24 of 58 PageID #: 24
             169.      McManemon had previously told Dyllan Rives, Hickory was on the

     smallest dose possible of ChEis (neostigmine/pyridostigmine) to prevent respiratory

     collapse. See also ,r 114.

             170.      McManemon had said she did not know if Hickory's diarrhea and tearing

     on Sunday were due to neostigmine (ChEI). See ,r 149.

             171.      Based on statements made to Dyllan Rives, McManemon knew taking

     Hickory off ChEis completely would cause Hickory to go into respiratory decline and/or

     respiratory collapse. See    ,r,r 64-65, 114, 124.
             172.      In patients with MG, treatment with ChEis is a balance. While ChEis are

     necessary to prevent symptoms of myasthenia crisis such as respiratory collapse, too

     much ChEis can lead to a cholinergic crisis.

            Patients with MG can present with acute weakness either because they
            have too much medication (resulting in a cholinergic crisis) or because of
            an exacerbation of their myasthenia, usually secondary to an acute illness
            or stress (myasthenic crisis), which results in not enough
            anticholinesterase inhibitor. Hogan, Christopher et al. Acute Myasthenia
            Crisis: A Critical Emergency Department Differential. Cureus vol. 12,8
            e9760. 15 Aug. 2020, doi:10.7759/cureus.9760; see also
            https://-vv-vvw.ncbi.nlm.nih.gov/books/NBK539783/#:~:text=Atropine%20a
            cts%20as%20a%20direct,of%20centrally%20acting%20excess%20acetylc
            holine.

             173.      Dyllan Rives knew McManemon was misrepresenting facts in regards to

     Hickory's condition.

             174.      Rak said the tracheal wash indicated nothing was growing.

             175.      Rak then started recommending a plethora of procedures some of which

     had been discussed with McManemon and declined, including a CT scan and an

     Addison's test.




                                      25
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 25 of 58 PageID #: 25
             176.    Rak said she wanted to try a lower dose of neostigmine, and "they" (ECC)

     wanted to do a tracheal tube to replace the endotracheal tube.

             177.    Dyllan Rives requested an in-person meeting with the person or people in

     charge of the ECC.

             178.    Dyllan and Elisa Rives met with Virginie Wurlod-Talbot (Wurlod), a

     visiting ECC critical specialist, and Rak.

             179.    When Wurlod was asked if she had a supervisor, she said she did not, and

     mysteriously Schumacher, the Department Head ofUTSAH appeared and joined the

     meeting.

            180.     At some point, Dyllan Rives stated Hickory was on the ventilator because

     of a cholinergic crisis and not because of pneumonia, and Wurlod and Rak nodded in

     agreement.

            181.     McManemon had misrepresented why Hickory needed ventilation. See ,r,r

     102-103, 153.

            182.     This misrepresentation/deception/lie had led to the back and forth between

     McManemon and Elisa Rives during the call on the morning of February 13, 2022.

            183.     When Elisa Rives confronted McManemon she refused to acknowledge

     Hickory went into a cholinergic crisis. See ,r 153.

            184.     Wurlod said she had met with the residents, Lee and Hogberg, and

     Hickory was never given an independent breathing trial without ventilator support.

            185.     Wurlod said Lee and Hogberg told her the breathing tests had always been

     with pressure support, and Hickory was no longer breathing well. But see ,r,r 141-143,

     159-160.




                                      26
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 26 of 58 PageID #: 26
            186.     The SAICU record on February 13, 2022, says patient: "breathed on his on

     during trial without ventilation by Dr. Hogberg earlier".

            187.     Everything Wurlod and Rak were saying was contrary to everything

     Dyllan Rives had been told by McManemon, Lee and Hogberg when she had asked about

     Hickory. See   ,r,r 114-161.
            188.     Whenever, Dyllan Rives expressed concerns about

     misrepresentations/deception/lies in regards Hickory's care and state, both Wurlod and

     Rak's responses were repeatedly "I (we) cannot speak to what happened before I (we)

     came on the case".

            189.     Ironically, Wurlod and Rak, speaking about things that had happened

     before they started in the ECC, said Hickory had been experiencing adverse reactions to

     neostigmine all along.

            190.     The SAICU record does not reflect Hickory was experiencing SLUD

     and/or adverse reactions to neostigmine.

            191.     Dyllan Rives had specifically and repeatedly asked and been told by

     McManemon, Lee and Hogberg, Hickory was showing no SLUD signs or adverse

     responses to neostigmine. See ,r,r 149 and 161.

            192.     At some point, Elisa Rives asked Rak and Wurlod if Hickory could be

     switched to injectable pyridostigmine instead of neostigmine because it has fewer side

     effects, and Rak replied "no such drug exists".

            193.     Schumacher said Wurlod and Rak would be attending to Hickory for the

     next two weeks, which was not reassuring to Dyllan Rives.




                                     27
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 27 of 58 PageID #: 27
            194.    Dyllan Rives was left with another Robson's choice, agree to a lower dose

     of neostigmine and continued ventilation or kill Hickory.

            195.    Elisa Rives stressed to Wurlod, Rak and Schumacher, the goal was to get

     Hickory off the ventilator as soon as possible. Hickory's ventilation would be extended

     for another 17 days.

            196.    After the meeting on, February 14, 2022, Elisa Rives telephoned and

     found a pharmacy with injectable pyridostigmine, Regonol™.

            197.    Elisa Rives telephoned Schumacher leaving a voice mail explaining why

     there was distrust. Elisa Rives used as an example, the fact that Rak had emphatically

     stated pyridostigmine did not come in injectable form, when a quick Google search

     confirmed Regonol™ (injectable pyridostigmine) was readily available at a local

     pharmacy. 14

            198.    Schumacher did not reply.

            199.    On the evening of February 14, 2022, Rak said Hickory was not doing as

     well as Saturday, but he was taking more spontaneous breaths since he was given

     neostigmine at 3 :00 p.m.

            200.    Rak said Hickory had done one breathing trial where he was breathing on

     his own with pressure support for five minutes.

            201.    On February 15, 2022, Rak called again and communications once again

     fell apart when she continued to demand the same procedures and diagnostic tests, which

     had already been declined.

            202.    Dyllan Rives requested another in-person meeting.


     14
      Elisa Rives relied on the single example instead of going into the plethora of
     misrepresentations/deception/lies regarding Hickory's handling.


                                                 28
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 28 of 58 PageID #: 28
              203.   Upon arriving at UTSAH, Dyllan and Elisa Rives were met by a social

     worker Andrew Lufkin (Lufkin) and escorted into a UTSAH room.

              204.   At some point, Lufkin left and Schumacher, Wurlod, and Kimberly

     Anderson (Anderson) a professor in neurology came into the room. It had been more than

     48 hours since Dyllan Rives had heard from anyone in neurology.

              205.   Anderson stated it was her understanding Hickory was not responding to

     medication, and Dyllan Rives said "no" that was not true.

              206.   After some discussion, a plan was discussed with the understanding

     Hickory's MG needed to be addressed. Anderson agreed to write a prescription for

     injectable pyridostigmine, and the plan was for Hickory to stay on neostigmine until

     Hickory could be switched over.

              207.   Dyllan Rives distraught and frustrated suggested possibly trying

     Mycophenolate Mofetil (MMF). 15

              208.   Anderson agreed with trying the MMF.

              209.   When Wurlod said something about costs and time, Anderson put her

     hand up and said we (Anderson and Wurlod) can talk about it.

              210.   Schumacher interjected asking Anderson "what's the time line here"?

              211.   Schumacher then turning towards Dy llan Rives stated: you can keep him

     (Hickory) alive on the ventilator indefinitely, but that is not life, at some point you have

     to consider what's best for Hickory and yourself.

              212.   Hickory was admitted to UTSAH/UTCVM to have his medication

     adjusted, and "but for" McManemon, Lee, and other defendants mishandling of



     15
          Mycophenolate has been used as a rescue agent to treat immune-mediated MG.


                                      29
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 29 of 58 PageID #: 29
     Hickory's medication ventilation would not have been necessary. See        ,r,r 63-65, 83, 98,
     100.

            213.    Schumacher, an administrator ofUTSAH/UTCVM, was now coercing

     Dyllan Rives to kill Hickory.

            214.    Dyllan Rives responded "there is no time line".

            215.    Anderson said MMF had been known to work within 24 to 48 hours.

            216.    Dyllan and Elisa Rives left with the impression there was a plan to coerce

     Dyllan Rives to kill Hickory to cover up what McManemon, Lee, Hogberg and others

     had done which resulted in Hickory going into a cholinergic crisis.

            217.    Immediately upon leaving the meeting, Dyllan Rives requested all

     Hickory's records.

            218.    Dyllan Rives, from this point forward, requested and received electronic

     copies of updated records regularly via email, and on February 28, 2022, Pam Brock, an

     administrator in charge of records, hand-delivered a printed version of the record through

     February 27, 2022.

            219.    None of the electronic nor printed records turned over to Dyllan Rives up

     to February 28, 2022 contained incident reports and/or case summaries detailing events

     leading up to Hickory being administered atropine on February 9, 2022, nor Hickory

     requiring ventilation as a matter of life or death on February 10, 2022.

            220.    Dyllan and Elisa Rives went to Ingles' pharmacy with the prescription for

     Reginol™, but the pharmacist explained she could not justify ordering a case, ten vials,

     when the prescription was for only two.




                                      30
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 30 of 58 PageID #: 30
                221.   Accordingly, the pharmacist called UTSAH and got Anderson to change

     the prescription from two vials to ten vials to make it possible to fill the order.

                222.   Lee, during the evening update of February 15, 2022, said the breathing

     trial last night with pressure support was four minutes, and the breathing trial yesterday

     morning with pressure support was ten minutes.

                223.   Lee, stressing Hickory's respiratory decline, said during the breathing trial

     this morning there were no spontaneous breaths at all, and Hickory was the worse so far.

                224.   Lee said Hickory would get MMF at 9:00 p.m., and they would do a blood

     profile.

                225.   Lee also said Hickory's GI motility was not good. 16

                226.   McManemon had ordered ECC to stop giving neostigmine on February

     13, 2022, and it was not until the late afternoon of February 14, 2022, when Hickory

     started receiving a lower dose of neostigmine. See ,-r,-r 166, 199.

                227.   Discontinuing treatment with ChEis in MG patients can lead to a MG

     crisis prolonging the need for ventilation. Wendell, Linda C, and Joshua M Levine.

     "Myasthenic crisis." The Neurohospitalist vol. 1,1 (2011): 16-22.

     doi:10.l 177/1941875210382918; Hogan, Christopher et al. Acute Myasthenia Crisis: A

     Critical Emergency Department Differential. Cureus vol. 12,8 e9760. 15 Aug. 2020,

     doi:10.7759/cureus.9760; see also ,I 169 supra.


     16
      GI refers to Gastrointestinal: An adjective referring collectively to the stomach and
     small and large intestines. https://www.merriam-
     webster.com/dictionary/gastrointestinal %20tract
     Neostigmine has been reported to affect GI motility. Parthasarathy G, Ravi K, Camilleri
     M, Andrews C, Szarka LA, Low PA, Zinsmeister AR, Bharncha AE. Effect of
     neostigmine on gastroduodenal motility in patients with suspected gastrointestinal
     motility disorders. Neurogastroenterol Motil. 2015 Dec;27(12):1736-46. doi:
     10.1111/nmo.12669. Epub 2015 Sep 20. PMID: 26387781; PMCID: PMC4659742.


                                      31
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 31 of 58 PageID #: 31
            228.    Lee said Hickory was retaining water and his sodium levels were down

     and the plan was to give diuretics. Lee also confirmed the IV pyridostigmine would be

     started the next day if the injectable pyridostigmine was delivered, and Hickory would

     remain on neostigmine until then.

            229.    On February 16, 2022, Dyllan and Elisa Rives met with Wurlod and the

     Clinical Care Director Leslie Wereszczak (Wereszczak).

            230.    Wurlod recommended getting a consult from a nutritionist implying

     Hickory was going to be on the ventilator for quite some time.

            231.    Dyllan Rives declined the nutritionist expressing the need to get Hickory

     off the ventilator as soon as possible circumventing the need for a nutritionist.

            232.    Wereszczak then took Dyllan and Elisa Rives back to see Hickory for the

     first time since he went on the ventilator on February 10, 2022.

            23 3.   Wereszczak said she had been attending to Hickory all weekend long.

            234.    Hickory was heavily sedated and suffering from severe edema, and it was

     clear Hickory had been in this state for quite some time.

            235.    It was also clear Hickory had been heavily sedated since going on the

     ventilator so there had been no reason to keep Dyllan Rives from seeing Hickory given

     her multiple requests. See   ,r,r 125 and 132.
            236.    Dyllan Rives delivered the Reginol™ to Anderson telling her the

     remaining eight vials were a donation in Hickory's name.

            23 7.   At some point, Elisa Rives told Anderson to check the record regarding

     whether or not Hickory was responding to medication because Hickory had been in the

     Neurology treatment room all day February 8, 2022. See ,r 77, 100.




                                      32
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 32 of 58 PageID #: 32
            238.    On February 17, 2022, Dyllan Rives met with Anderson and Wurlod.

            239.    Anderson said there was no way to assess whether the MMF was working

     because there was no way to assess Hickory's neuromuscular condition except for

     breathing trials, and Hickory was not breathing well. Anderson did not acknowledge

     Hickory's breathing deteriorated when McManemon took Hickory offChEis.

            240.    Anderson, stating Hickory was an atypical case of MG, suggested doing

     another electrodiagnostic test.

            241.    Wurlod said doing a tracheal tube would allow them to lower the amount

     of sedation Hickory was on so his strength could be assessed.

            242.    After meeting with Anderson and Wurlod, Dyllan Rives made the decision

     to do the tracheal tube because once again Anderson, Schumacher, Wereszczak, Wurlod

     and other defendants had given her yet another Robson's choice.

            243.    The UTSAH/UTCVM business office called for another $5000 dollar for a

     total to date of$17500.

            244.    Anderson, saying she cared about Hickory, stated it had taken her all day

     to set up the continuous rate of infusion (CRI) to deliver the lowest dose of

     pyridostigmine 0.01 mg/kg/hr.

            245.    Anderson, however, did not titer the pyridostigmine. If Anderson had

     correctly titered the dose Hickory could have come off the ventilator. See ,i,i 398, 399.

            246.    Wurlod called for the evening update and said the tracheal tube placement

     went well, but telling Dyllan Rives once again she could not visit Hickory.

            247.    Over the next few days, Friday, Saturday, and Sunday, at Dyllan Rives'

     constant insistence Hickory's sedation levels were reduced.




                                      33
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 33 of 58 PageID #: 33
              248.   On Sunday afternoon, February 20, 2022, Julie Schildt (Schildt), another

     ECC critical specialist, allowed Dyllan, accompanied by Elisa Rives, to see Hickory.

              249.   Hickory's edema seemed to have improved, the tracheal tube was in place,

     and Hickory appeared to be sleeping comfortably.

              250.   On Monday February 21, 2022, Dyllan Rives was asked for another $7000

     dollar for a total of $24500. 17

              251.   Later that day, around 1:00 p.m., Wurlod allowed Dyllan Rives exactly a

     five-minute timed visit with Hickory (Emphasis supplied).

              252.   Wurlod informed Dyllan Rives, Hickory was asynchronous with the

     ventilator and uncomfortable with no explanation or reason why this was occurring.

              253.   Dyllan Rives said "then get Schildt to come back in, apparently she knows

     how to set the ventilator".

              254.   Wurlod said "she is not working this week".

              255.   According to Hickory's SAICU records for February 21, 2022 at 11:00

     a.m.: "pis not breathing as well on vent after Dr. Wurlod ~'d some of the settings on the

     vent."

              256.   Dyllan Rives called the front desk and asked to speak with the director,

     hoping to come to some kind of financial arrangement so she (Dyllan Rives) could focus

     on Hickory.




     17
       No one at UTSAH/UTCVM after February 13, 2022, provided a fee estimate or
     timeframe in regards to defendants' detainment of Hickory, and after February 13, 2022
     there are no additional fee estimate contained in the record.


                                      34
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 34 of 58 PageID #: 34
               257.   The constant calls for large sums of money every few days were causing

     extreme duress, especially in light of all the misrepresentations/deception/lies made in

     regards to Hickory's condition. See footnote 17.

               258.   Expecting Schumacher, Wereszcak came to speak with Dyllan Rives.

               259.   Wereszczak said "she could assure us" there was nothing wrong in regards

     to Hickory's care.

               260.   Elisa Rives attempted to explain there had been numerous

     misrepresentations/deception/lies and mistakes made in regards to Hickory's care, and

     Wereszcak's response was "How do you know? Are you a doctor?".

               261.   Wereszcak said "if you are not happy with the way Hickory is being

     treated then why don't you just take him out of here. (Pausing briefly) Oh, wait I guess

     you can't because he is on a ventilator, he would die".

               262.   Wereszczak also said something to the effect "you have to understand it

     from a business side, we have many owners who tell us money is not an issue, but we

     have to constantly ask for half the deposit because if the animal dies then we are left with

     the bill". 18

              263.    The constant calls for more and more money, the staging of Hickory for

     effect prior to every visit, the constant misrepresentations/deception/lies regarding

     Hickory's condition, and the constant coercion had taken its toll on Dyllan Rives, and she

     was questioning whether Schumacher, Wurlod, and Wereszczak and others were ever

     going to let Hickory come off the ventilator.




     18
          Wereszczak mumbled something to the effect 'we've never had one last this long'.


                                                  35
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 35 of 58 PageID #: 35
             264.    To relieve the financial stress Dyllan Rives sought financial support from

     her father James Rives.

             265.   The following day February 22, 2022, Hickory appeared the best he had

     been since being ventilated.

             266.   Most of the anesthesia had been removed, and Hickory was alert and

     responsive wagging his tail in recognition of his family.

            267.    This was the first-time Hickory was aware Dyllan Rives was there since

     February 10, 2022 (12 days).

             268.   On Wednesday February 23, 2022, Dyllan and Elisa Rives met with

     Wurlod, and Wurlod reported Hickory was the same as the day before.

            269.    Wurlod said Hickory was eating meat balls and drinking water from a

     syrmge.

            270.    Dyllan and Elisa Rives then met with Wurlod and Talisha Moore (Moore),

     a professor in the UTCVM neurology department.

            271.    Wurlod said they were going to do a full blood culture to rule out

     antibiotic resistant infection because of concerns for their safety.

            272.    Wurlod suggested two more expensive diagnostics, a bone marrow

     aspirate and an echocardiogram, but Wurlod admitted other tests being done i.e., the full

     blood culture, would reveal similar information so both procedures were declined. See ,-i

     271.

            273.    Moore was going to titer Hickory's pyridostigmine dose the next morning.

            274.    Wurlod kept insisting ECC could do the titering that night, but Dyllan

     Rives said "no" she wanted Moore (neurology department) to do it.




                                     36
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 36 of 58 PageID #: 36
              275.     On February 24, 2022, Dyllan became nervous when there was no call at

     the usual time.

              276.     Finally, around 11 :00 a.m. Wurlod called and said Hickory had suffered a

     pneumothorax, and if Hickory could not be stabilized, he would not make it through the

     day.19

              277.     Dyllan and Elisa Rives went immediately to UTSAH.

              278.     Upon arrival at UTSAH, Dyllan Rives called the front desk and told the

     front desk to tell Wurlod, Hickory's family was in parking slot 22 (a Covid19 protocol).

              279.     Wereszczak met Dyllan and Elisa Rives on the sidewalk in the front

     saying she wanted us to see him (Hickory) taking us back to ECC and Hickory.

              280.     Dyllan Rives asked Wereszczak why the police were there, and

     Wereszczak said "they" (UTSAH/UTCVM) treated the police canines.

              281.     When Dyllan and Elisa Rives saw Hickory, he was again deeply sedated

     and back on high levels of propofol with a chest tube.

              282.     Dyllan and Elisa Rives were directed to an exam room, and Wurlod,

     Wereszczak, and Schumacher entered.

              283.     Wurlod began explaining Hickory's condition.

              284.     Elisa Rives turned to Schumacher and explained she was an attorney, and

     she represented Dyllan Rives.

              285.     Elisa Rives asked Schumacher to send the name of their counsel via email.




     19There are numerous causes for pneumothorax, including but not limited to, improper
     ventilation settings. https://www.ncbi.nlm.nih.gov/pmc/articles/PMC402l 154/; see also
     https://www.karger.com/Article/Fulltext/342890


                                      37
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 37 of 58 PageID #: 37
                286.   Elisa Rives had never before mentioned anything in regards to legal

     action.

                287.   Elisa Rives then questioned Wereszczak about the comment about getting

     the money before an animal dies. See ~ 262.

                288.   Wereszczak began to vehemently, angerly, and loudly deny she ever made

     the comment saying Elisa Rives was lying.

                289.   When Dyllan Rives confirmed to Wereszczak saying "Yes Ma'am you

     said something to this effect", Wereszczak called Dyllan Rives a liar.

                290.   Wereszczak then exited the room and two Police Officers, who were

     apparently called prior to Dyllan and Elisa Rives' arrival, entered the room and escorted

     Dyllan and Elisa Rives to the lobby.

                291.   Both Dyllan and Elisa Rives spoke briefly with the two officers and asked

     what had been done to warrant them being called, and their response was nothing.

                292.   The officers assured Elisa Rives they were present for all parties.

                293.   Dyllan Rives paid an additional $5000 bringing the total to $30000

     dollars.

                294.   The next day Dyllan Rives called for the officers to escort her on her visit

     with Hickory, but the officers reported to the UTSAH front desk instead.

                295.   The police incident report said Wereszczak had called about two possibly

     "disturbed individuals".

                296.   The Police Report states: "Vet staff informed me that the clients are upset

     because of the condition of the dog brought in by the individuals is so severe further

     care is not feasible. Staff stated that this incident is costing the individuals more than




                                      38
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 38 of 58 PageID #: 38
     $3000 dollars a day, with a bill accruing over $52000 dollars. The reporting party also

     stated that these two individuals had been argumentative in the past and have "gotten into

     the face" of other staff members." (Emphasis supplied).

               297.   On February 25, 2022, Elisa Rives emailed James Thompson, Dean of the

     College of Veterinary Medicine at the University of Tennessee detailing events

     surrounding Hickory's custody by UTSAH and asking for help to address the emergency

     situation.

               298.   There was no reply from the Dean or his office.

               299.   Also on February 25, 2022, counsel Michael Fitzgerald (Fitzgerald)

     returned Elisa Rives' call from the previous day.

               300.   Elisa Rives explained she was reaching out to him (Fitzgerald) out of

     professional curtesy to make sure all parties were made aware of their legal duty as to the

     record.

               301.   Fitzgerald said all parties would be informed of their duty to maintain the

     record.

               302.   Over the weekend, February 26, 2022 and February 27, 2022, Schildt

     allowed Dyllan and Elisa Rives to visit Hickory for a few minutes each day, and Hickory

     appeared to be improving.

               303.   On February 28, 2022, Kristen Marshall (Marshall) replaced Wurlod as

     the critical specialist in the ECC, and Moore from the neurology department began to

     titer the CRI pyridostigmine beginning at a rate of 0.0125 mg/kg/hr.




                                      39
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 39 of 58 PageID #: 39
               304.    Moore informed Dyllan Rives there was not enough injectable

     pyridostigmine. 20

               305.   Accordingly, Dyllan Rives was provided with another prescription, and

     she (Dyllan Rives) contacted Ingles' pharmacy for another ten vials ofRegonol™.

               306.   Dyllan Rives delivered the Regonol to Marshall the next day, and Dyllan

     Rives, as she had before, directed Marshall to consider any remaining vials of Regonol™

     as a donation in Hickory's name. 21

               307.   On March 1, 2022, Moore increased the rate of pyridostigmine Hickory

     received to 0.0150 mg/kg/hr.

               308.   On March 2, 2022, Moore increased the rate of IV pyridostigmine Hickory

     received to 0.0175 mg/kg/hr.

               309.   Moore explained her calculation for converting the CRI dose to an oral

     dose to Dyllan Rives.

               310.   Moore explained this CRI dose ofpyridostigmine equates to the exact

     same dose Hickory was on when Hickory was discharged on January 13, 2022 (1/4 tablet

     (15mg) twice daily).

               311.   This is also the same dose Hickory received on February 5, 2022 and

     February 6, 2022, when Hickory was walking with little to no assistance, immediately

     prior to McManemon increasing the pyridostigmine dose leading to the administration of

     atropine and then ultimately to ventilation. See ,r,r 75, 82, 100.




     20
          Anderson's original script was for two vials and Dyllan Rives delivered ten vials. See
     ,r,r 220, 221, 236.
     21
       Dyllan Rives donated the remaining injectable Reginol™ because Hickory would be
     on liquid oral pyridostigmine at home.


                                      40
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 40 of 58 PageID #: 40
             312.    On March 3, 2022, Marshall telephoned with the morning update, and said

     Hickory had been off the ventilator for over an hour.

             313.    Marshall said she was sitting with Hickory and everything so far was

     looking good.

             314.    Fitzgerald called while Dyllan and Elisa Rives were on their way to see

     Hickory wanting to know how UTSAH/UTCVM would be paid because Hickory would

     not be released without full payment.

             315.    Elisa Rives informed Fitzgerald it was not an appropriate time because

     Dyllan Rives had not even had the opportunity to see Hickory since coming off the

     ventilator.

             316.    As of March 3, 2022, Hickory had been on a ventilator for 21 days. To

     secure Hickory's safety Dyllan Rives paid another $5000 bringing the total to $35000.

             317.    Dyllan and Elisa Rives delivered liquid pyridostigmine to Marshall so

     Hickory could be switched over and acclimated to the oral dose.

             318.    Marshall wanted to remove the chest tubes stating in her opinion they

     were not necessary and commenting she did not see how Hickory developed

     pneumothorax when he (Hickory) was on such wimpy ventilator settings. See ,r 276.

             319.    On March 4, 2022, Hickory was still doing alright off the ventilator so

     after visiting with Hickory, Dyllan and Elisa Rives returned home to prepare for

     Hickory's home coming.

             320.    Dyllan and Elisa Rives had been staying in a motel since February 9, 2022

     because Dyllan Rives feared Schumacher, Wereszczak, Wurlod and possibly others at

     UTSAH/UTCVM would cause Hickory harm if she (Dyllan Rives) was not present.




                                      41
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 41 of 58 PageID #: 41
              321.   On March 4, 2022, Dyllan Rives requested via email a full electronic

     record from Pam Brock.

              322.   Pam Brock replied she had tested positive for Covid19, and was

     quarantined until Tuesday March 8, 2022.

              323.   On March 5, 2022, around noon, Dyllan and Elisa Rives arrived at

     UTSAH to pick up Hickory.

              324.   Prior to Hickory being brought out, Dyllan and Elisa Rives met with ECC

     critical specialist Schildt for directions on nursing care.

              325.   Hickory was being sent home with ten bags ofIV fluids with directions

     for Hickory to have two liters per day subcutaneously.

              326.   Hickory was also being sent home with numerous prescriptions including

     a prescription for gabapentin and several other drugs and directions for giving Hickory

     physical therapy.

              327.   McManemon, Lee, Anderson, Wurlod and other UTSAH personnel did

     not discuss drug interactions and ChEis nor advised Dyllan Rives in regards to the

     management of Hickory's MG other than the nursing directions.

              328.   The discharge directions wanted Hickory seen by a veterinarian in five

     days for bloodwork.

              329.   Picking Hickory up from UTSAH was akin to a hostage exchange because

     UTSAH/UTCVM demanded full payment before Hickory would be released to Dyllan

     Rives.

              330.   Dyllan Rives wanted Hickory to be brought out before writing the check.




                                      42
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 42 of 58 PageID #: 42
            331.    Schildt and Dyllan Rives agreed Hickory would be brought to the lobby

     and after the check for $38878.91 was written, Hickory could be wheeled out on a gurney

     and placed in Dyllan Rives' car.

            332.    Hickory looked like a prisoner-of-war having lost significant weight, more

     than 15 pounds, and Hickory was in a very frail and fragile state with severe muscle

     wasting and weakness.

            333.    Hickory was going to need 24-hour intensive care for weeks.

            334.    The UTSAH/UTCVM invoice for February 4, 2022 to March 5, 2022 was

     for $73878.91. The invoice for January 11, 2022 to January 14, 2022 was for $1802.39

     for a total of $75681.30.

            335.    Hickory was in significantly worse condition than when Hickory was

     delivered into UTCVM/UTSAH's care to have his medication adjusted.

            336.    The discharge papers listed a plethora of conditions caused by Hickory

     being on the ventilator as being resolved or presumed resolved.

            337.    Schumacher handed Dyllan Rives a letter: "This letter is to inform you the

     University of Tennessee, Veterinary Medical Center effective March 5, 2022, will not see

     you as a client of the Small Animal Hospital anymore."

            338.    On March 8, 2011, Dyllan Rives received via email an electronic record.

            339.    In this record, there were back dated reports "CLINICIAN SUMMARY

     OF THE CASE" tacked on to the end of the electronic record (pages 753 to 772)

     electronically signed by McManemon, Lee, and Hogberg, and printed on March 8, 2022.




                                      43
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 43 of 58 PageID #: 43
            340.    On March 10, 2022, Dyllan and Elisa Rives took Hickory for bloodwork

     to Huntsville Veterinary Specialists & Emergency (HVSE) when Hickory's regular

     veterinarian PSAC refused to treat him.

            341.    HVSE informed Dyllan Rives the blood work showed Hickory had Stage I

     Kidney Disease, probably as a result of his long-term ventilation.

            342.    On Hickory's discharge papers one of the plethora of conditions Hickory

     suffered, as a result of being on the ventilator or in UTSAH/UTCVM' s custody, was

     acute kidney injury.

            343.    Dyllan Rives had never been told Hickory had acute kidney injury, and

     she learned of this upon reading the lists of conditions treated on the discharge papers.

            344.    The discharge papers said the acute kidney injury was resolved.

            345.    On March 21, 2022, Hickory passed.

            346.    The cholinergic crisis Hickory suffered at home on February 3, 2022,

     leading to Hickory being readmitted to UTSAH was the direct result of McManemon

     directing Dyllan Rives to go up in the amount ofpyridostigmine Hickory received from

     1/4 tablet (15mg) every 12 hours, to 1/4 tablet (15mg) every eight hours, to 3/8 tablet

     (22.5 mg) every eight hours, to 1/2 tablet (30mg) every eight hours.   See,,   37, 50, 52,

     58.

            347.    The cholinergic storm Hickory suffered on February 8, 2022 through

     February 10, 2022, leading to atropine being administered and ultimately to Hickory

     being ventilated was the direct result of McManemon and Lee giving Hickory too much

     ChEis (pyridostigmine and/or neostigmine).    See,,   82-83, 98-99, 100-101.




                                      44
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 44 of 58 PageID #: 44
             348.    After securing payment for the upper limit of $25000 on February 10,

     2022 and February 13, 2022, McManemon then subsequently deprived Hickory of

     neostigmine on Sunday, February 13, 2022, inducing respiratory collapse. See ,r,r 161,

     166, 350-351.

             349.    Rak, Lee, Hogberg and Wurlod without explanation simply said Hickory

     was just not breathing well. (Emphasis supplied). See ,r,r 100, 166, 185.

             350.    Hogberg in a telephone call with Dyllan Rives regarding the "no

     ventilation" told Dyllan Rives, McManemon ordered neostigmine be suspended.

             351.    The SAICU record reflects "withhold neostigmine until neuro says give".

             352.    McManemon was fully aware Hickory would suffer a respiratory collapse

     because of the "challenge" done from February 4, 2022 to February 5, 2022, and because

     McManemon had mention several times to Dyllan Rives she (McManemon) had Hickory

     on the lowest dose to prevent respiratory collapse. See ,r,r 64, 66, 114-161, 169.

            353.     McManemon, Lee, Anderson, Wurlod and other defendants either gave

     and/or withheld medication to create the response in Hickory they desired first requiring

     ventilation then extending Hickory's time on the ventilator.

            354.     McManemon, Lee, Anderson, Schumacher, Wereszczak, Wurlod and

     others acting under color of state authority and law at all times acted solely in their self-

     interest with self-declared impunity under color of official right to forcefully take the

     personal property ofDyllan Rives and the Rives family causing them to suffer the loss of

     Hickory and to suffer substantial financial harm.




                                      45
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 45 of 58 PageID #: 45
                                   STATEMENT OF CLAIMS

                                           COUNT ONE

                               Deprivation of Constitutional Rights

                                         (42 u.s.c. § 1983)

            355.    Plaintiffs restate and reincorporate the above and forgoing facts and

     allegations of paragraphs one through three hundred and fifty-four, inclusive, of this

     complaint.

            356.    Any reasonable state actor knows the threatening of or killing of a

     person's beloved pet is unlawful.

            357.    "But for" McManemon and others directing Dyllan Rives to increase

     Hickory's pyridostigmine dose again and again while Hickory was at home, Hickory

     would not have needed to be readmitted under the false pretense of adjusting his

     pyridostigmine dosage.

            358.    "But for" McManemon and others overdosing Hickory with

     pyridostigmine, Hickory would not have needed atropine, and "but for" McManemon,

     Lee and others repeatedly administering neostigmine after administering atropine

     Hickory would not have experienced a cholinergic storm causing Hickory extreme

     respiratory distress necessitating ventilation and extended hospitalization.

            359.    "But for" McManemon and other defendants taking Hickory off the

     neostigmine causing further respiratory distress and failing to titer the ChEis, Hickory's

     time on the ventilator would not have been extended.

            360.    Defendants, McManemon, Lee, Anderson, Schumacher, Wereszczak,

     Wurlod and others, acting under color of state authority in regards to Hickory caused him




                                     46
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 46 of 58 PageID #: 46
     to suffer many iatrogenic conditions: aspiration pneumonia, respiratory distress,

     cholinergic crisis, hypoalbuminemia, neutrophilia, non-regenerative hypochromic

     anemia, Grade III/IV systolic heart murmur, moderate tracheostomy secretions, bilateral

     pneumothorax, ventral cervical swelling, acute kidney injury, superficial corneal ulcer,

     and bilateral pleural effusion, and other life-threatening conditions.

             361.    Defendants, McManemon, Lee, Anderson, Schumacher, Wereszczak,

     Wurlod and others, as a result of their actions under color of state authority, deprived

     Dyllan Rives of her "property" Hickory, while he was hospitalized at UTSAH from

     February 4, 2022 to March 5, 2022, because defendants exercised complete dominion and

     control over Hickory.

             362.    Defendants, McManemon, Lee, Anderson, Schumacher, Wereszczak,

     Wurlod and others, acting under color of state authority and law, permanently deprived

     Dyllan Rives of Hickory because "but for" defendants' actions Hickory would not have

     suffered life-threatening conditions causing Dyllan Rives to be permanently deprived of

     her beloved Hickory.

             363.    Dyllan Rives was permanently deprived of her "property" Hickory on

     March 21, 2022.

             364.    Defendants, McManemon, Lee, Anderson, Schumacher, Wereszczak and

     Wurlod and other unnamed individuals, had a duty of care, a fiduciary duty, to act in the

     best interest of Hickory not in their interest: financial, career, business, reputation,

     pecuniary, personal gain etc.

             365.    Once the Dean and UTCVM's legal representative were notified,

     defendants Schumacher and Wereszczak and others, acting under color of state authority,




                                                   47
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 47 of 58 PageID #: 47
     informed Dyllan Rives, Hickory was no longer UTCVM's concern and hastily sought to

     get Hickory out of their custody without consideration of the consequences to Hickory.

             366.   Defendants as state actors denied services to Dyllan Rives causing

     additional harm to her personal property Hickory. See ,-i 337.

                                           COUNT TWO

                             Taking of Personal Property And Assets

                                         (42 u.s.c. § 1983)

             367.   Plaintiffs restate and reincorporate the above and forgoing facts and

     allegations of paragraphs one through three hundred and sixty-six inclusive, of this

     complaint.

             368.   Defendants in their individual capacity acting under color of state

     authority took custody of Hickory under false pretenses and once in defendants' custody

     exploited Hickory as a vehicle of extortion.

             369.   Defendants, the University of Tennessee, UTSAH and UTCVM, by and

     through McManemon, Lee, Anderson, Schumacher, Wereszczak, and Wurlod and others,

     as employees, agents and representatives of UTSAH/UTCVM acting under color of state

     authority deprived Dyllan Rives collectively "the Rives" of exorbitant assets under duress

     while threatening Dyllan Rives' personal property, Hickory, entitling plaintiffs to

     restitution.

             370.   Dyllan Rives and James Rives paid an unconscionable sum of money

     towards Hickory's preservation while at UTSAH/UTCVM and an even more

     unconscionable sum to secure Hickory's release from UTSAH.




                                      48
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 48 of 58 PageID #: 48
            371.    The result of defendants' actions, under the color of official right, was the

     destruction ofDyllan Rives' property, her beloved Hickory, and the payment of

     exorbitant and unconscionable sums.

                                         COUNT THREE

                                  The Hobb's Act And Extortion

                                         (18 u.s.c § 1951)

            372.    Plaintiffs restate and reincorporate the above and forgoing facts and

     allegations of paragraphs one through three hundred and seventy-one, inclusive, of this

     complaint.


            373.    Defendants, the University of Tennessee, UTSAH and UTCVM, by and

     through McManemon, Lee, Anderson, Schumacher, Wereszczak, and Wurlod and others,

     as employees agents, and representatives of UTSAH/UTCVM acting under color of

     official right, used their public office to unfairly influence Dyllan Rives to part with her

     personal property, Hickory, thereby affecting interstate commerce.


            374.    While the law recognizes pets only as "personal property" there is no

     denying the emotional ties between a person and/or family and their beloved pet.


            375.    The veterinary industry as a whole uses this well-known relationship

     between pets and their family to promote their legitimate business interests, and the State

     of Tennessee has recognized the importance of the bond between pets and their families

     for well over a century.




                                      49
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 49 of 58 PageID #: 49
             376.    Defendants, McManemon, Lee, Anderson, Schumacher, Wereszczak,

     Wurlod, acting under color of official right exploited the bond between Dyllan Rives and

     Hickory and exploited Hickory as an integral part of a scheme to extort money.


             377.    "But for" defendants' wrongful actions Hickory could have received

     proper veterinary care at North Carolina State University.

                                            COUNTFOUR

                                               Extortion

                                      (Tenn. Code§ 39-14-112)

             378.    Plaintiffs restate and reincorporate the above and forgoing facts and

     allegations of paragraphs one through three hundred and seventy-seven, inclusive, of this

     complaint.

             379.    Under Tenn. Code§ 39-14-112: "(a) A person commits extortion who

     uses coercion upon another person with the intent to: (1) Obtain property, services, any

     advantage or immunity; (2) Restrict unlawfully another's freedom of action; or

     (3) (A) Impair any entity, from the free exercise or enjoyment of any right or privilege

     secured by the Constitution of Tennessee, the United States Constitution or the laws of

     the state, in an effort to obtain something of value for any entity; ... "

             380.    Causing Hickory to be placed in UTSAH's custody and causing Hickory

     to need ventilation through the manipulation of drugs, constantly staging Hickory for

     effect, constantly making requests for expensive miscellaneous diagnostic procedures in

     an attempt to drive up the costs, demanding money over and over and over again,

     drawing out the time Hickory was on the ventilator, and calling the police to apply

     pressure, intimidate, and harass were integral parts of a scheme employed by



                                      50
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 50 of 58 PageID #: 50
     McManemon, Lee, Anderson, Schumacher, Wereszczak, Wurlod and others acting under

     color of state authority to extort Dyllan Rives under a threat of harm to Hickory.

            3 81.   Repeated and frequent demands for payments for the preservation of

     Hickory while extending the time Hickory was on the ventilator are related predicate acts

     wherein defendants acting under color of official right extorted exorbitant and

     unconscionable amounts of money.

            382.    Ultimately, Dyllan Rives and collectively the Rives' have been deprived

     of a beloved family member and their money under threat of harm to Hickory, Dyllan

     Rives' personal property, suffering extreme emotional distress as victims of an extortion

     scheme under color of official right.

                                              COUNT FIVE

                                             Civil Conspiracy

                                             42   u.s.c. § 1985
            383.    Plaintiffs restate and reincorporate the above and forgoing facts and

     allegations of paragraphs one through three hundred and eighty-two, inclusive, of this

     complaint.

            384.    Defendants, Schumacher, Wurlod, Wereszczak and others are well aware

     of the legal duty to treat personal property placed in the care of the bailee

     (UTSAH/UTCVM) in a way that does not cause harm.

            385.    Defendants, Schumacher, Wurlod, Wereszczak and others, are also well

     aware of the legal duty to mitigate damages in the event harm occurs to the personal

     property while in the bailee's (UTSAH/UTCVM) custody regardless of the intent of the

     employee/agent/representative causing harm.




                                      51
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 51 of 58 PageID #: 51
            386.    Defendants, Schumacher and Wereszczak and others, employees,

     representatives, and agents of the bailee (UTSAH/UTCVM), and defendant Wurlod,

     another person from another institution, engaged in a civil conspiracy for the purpose of

     coercing Dyllan Rives' to kill Hickory in an attempt to relieve the bailee

     (UTSAH/UTCVM) and other named and unnamed defendants of liability.

            387.    Specifically, instead of documenting and acknowledging culpability for

     the events of February 8, 9, and 10, 2022, defendants, Schumacher, Wurlod, Wereszczak

     and others, acting under color of official right chose instead to force a Faustian bargain

     onto Dyllan Rives- either kill Hickory, something she (Dyllan Rives) morally could not

     do, or continue to pay exorbitant sums of money while defendants through their actions

     and inactions extended Hickory's time on the ventilator ultimately and as a consequence

     causing Hickory's demise. See ilil 145,245,273 through 276 supra and footnote 19.

            388.    After February 13,022, Dyllan Rives was never provided estimates nor

     timelines in regards to Hickory's forced detainment. See footnote 6 and 17.

            389.    Defendants, Schumacher, Wurlod, Wereszczak and others, acting under

     color of official right and working in concert, instead of acknowledging and mitigating

     the damage done to Hickory by the bad acts of McManemon, Lee and others leading to

     Hickory needing ventilation, engaged in a pattern of extortion insisting on miscellaneous

     and unnecessary diagnostic tests, consultations, procedures, and treatments in an attempt

     to force a desired outcome, Hickory's demise, which would afford defendants immunity.

            390.    Defendants, Schumacher, Wurlod, Wereszczak and others, engaged in a

     conspiracy to coverup their culpability by simultaneously demanding ever increasing




                                      52
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 52 of 58 PageID #: 52
     amounts of money while at the same time manipulatively extending the time Hickory was

     on the ventilator.

                                            COUNT SIX

                           Threat, Intimidation, Malicious Harassment

                                         (42   u.s.c. § 1983)
             391.   Plaintiffs restate and reincorporate the above and forgoing facts and

     allegations of paragraphs one through three hundred and ninety, inclusive, of this

     complaint.

             392.    Schumacher and Wereszczak under color of state authority in a show of

     force and intimidation threatened Dyllan Rives in a further attempt to get her to kill

     Hickory by calling the police and complaining Dyllan Rives was a "disturbed

     individual[s]" because "they" (UTSAH/UTCVM) had been presented with an untreatable

     dog and "they" (UTSAH/UTCVM) were being forced to take $3000 dollars a day.

             393.   The police report states: "the client[s] are [is] upset because of the

     condition of the dog brought in by the individual[s] is so severe further care is not

     feasible."

             394.   On Monday February 28, 2022, after Elisa Rives emailed the Dean of

     UTCVM, Moore, Marshall, and other UTSAH personnel initiated the titering of

     Hickory's pyridostigmine dosage. 22 See ,i,i 245,273 and 274 supra and footnote 19.

             395.   Two days later on March 3, 2022, Hickory was off the ventilator.




     22
       Hickory was admitted on February 4, 2022, to have his pyridostigmine dosage adjusted
     i.e., "titered".


                                     53
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 53 of 58 PageID #: 53
                                          COUNT SEVEN

                           Breach of Fiduciary Duty and Duty of Care

                                       (Breach of Bailment)

            396.    Plaintiffs restate and reincorporate the above and forgoing facts and

     allegations of paragraphs one through three hundred and ninety-five, inclusive, of this

     complaint.

            397.     UTSAH/UTCVM as bailee(s) assumed a legal and fiduciary

     responsibility to safeguard the bailor's property Hickory while in their custody.

            398.    McManemon, Lee, Anderson, Schumacher, Wereszczak, Wurlod and

     other unnamed defendants (UTSAH/UTCVM) owed an ethical duty to care for Hickory

     in Dyllan Rives' interest.

            399.    McManemon, Lee, Anderson, Schumacher, Wereszczak, Wurlod and

     other unnamed defendants breached their ethical and fiduciary duty by: acting in their

     interest rather than Hickory's interest; by failing to treat Hickory with competence and

     with compassion and respect for Hickory's welfare and Dyllan Rives' welfare; by failing

     to be honest in their relaying of information pertinent to Hickory's care and/or

     misrepresenting/deceiving/lying about Hickory's medical state; by attempting to

     manipulate and coerce an outcome in defendants' interest rather than Hickory's and

     Dyllan Rives' interest; by failing to follow the law in regards to Hickory's bailment; by

     interfering with Dyllan Rives' attempts to transfer Hickory to another facility in North

     Carolina; by defaming and libeling Dyllan Rives as [a] "disturbed individual[s]"; by

     threatening Dyllan Rives by calling the police; by allowing outside influences rather than

     their care of Hickory being their sole influence; and, by being interested in improper




                                     54
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 54 of 58 PageID #: 54
     financial considerations i.e. extortion under color of official right etc.; by breaching the

     veterinary-client-patient relationship and by terminating the relationship without

     notification to Dyllan Rives; by misrepresenting, deceiving, and lying about Hickory's

     state to influence how other veterinarians considered Hickory's condition; by attempting

     to coerce Dyllan Rives to kill Hickory; by extending Hickory's time on the ventilator

     causing life-ending complications; by failing to address reports and/or complaints; by

     failing to supervise other veterinarians over whom certain defendants had supervisory

     authority, by doing damage to Dyllan Rives (a client) and to the veterinary profession as

     a whole etc.

            400.    McManemon, Lee, Anderson, Schumacher, Wereszczak, Wurlod and

     other unnamed defendants as fiduciary(ies) failed to discharge their duties with respect to

     Hickory: by instructing the overdosing of Hickory with pyridostigmine at home causing

     Hickory to be readmitted to UTSAH; by overdosing Hickory with pyridostigmine at

     UTSAH causing Hickory to go into cholinergic crises requiring atropine; by continuing

     to overdose Hickory with neostigmine in combination with atropine causing Hickory to

     go into a cholinergic storm causing a life-threatening state leading to ventilation as a life

     saving measure; by overdosing Hickory with ChEis ensuring defendants continued

     custody of Hickory as a means to extort exorbitant sums; by foreclosing Hickory's

     chance at possible life saving treatment at North Carolina State; by discontinuing

     treatment with ChEis causing respiratory collapse; by constantly misleading,

     misrepresenting and deceiving Dyllan Rives in regards to Hickory's condition to coerce

     Dyllan Rives to kill Hickory or alternatively exhausting and/or deplete all Dyllan Rives'

     revenue in an attempt to force Dyllan Rives to kill Hickory thereby relieving defendants




                                      55
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 55 of 58 PageID #: 55
     ofliability; by not titering Hickory's pyridostigmine dosage keeping him (Hickory) on

     the ventilator for 21 days; by assuring Dyllan Rives "they" were taking care of Hickory

     when defendants were in fact needlessly causing Hickory harm; by failing to ventilate

     Hickory properly causing bilateral pneumothorax further extending Hickory's time on the

     ventilator; by causing life-ending complications as a result of being on the ventilator for

     an extended time; by continuously and needlessly sedating Hickory to keep him in a poor

     state; by depleting Dyllan Rives of all resources through their extortion scheme

     circumventing future treatment options for Hickory; by failing to give Hickory proper

     care causing complications such as Stage I Kidney Disease; by failing to advise Dyllan

     Rives in regards to drug interactions, the use of ChEis and MG; and by failing to advise

     Dyllan Rives regarding Hickory's condition leading to certain death etc.

                                           COUNT EIGHT

                            Intentional Infliction of Emotional Distress

            40 I .   Plaintiffs restate and reincorporate the above and forgoing facts and

     allegations of paragraphs one through four hundred inclusive, of this complaint.

            402.     McManemon, Lee, Anderson, Schumacher, Wereszczak, Wurlod and

     others, regardless of plaintiffs' attempts to resolve issues, continued to inflict emotional

     distress by constantly misrepresenting facts and/or failing to disclose facts regarding

     Hickory's condition, by failing to titer Hickory's ChEis dosage instead opting to extend

     Hickory's time on the ventilator, by constantly demanding money while continually

     extending the time Hickory was on the ventilator without time or fee estimates, by

     staging Hickory by sedating him and limiting visitation by Dyllan Rives, by repeatedly

     coercing Dyllan Rives to kill Hickory when defendants knew Hickory could come off the




                                      56
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 56 of 58 PageID #: 56
     ventilator, by defendants causing Hickory to be in a life-threatening condition, and by

     calling the police under false pretenses as further means of intimidation and harassment

     to force Dyllan Rives to kill Hickory.

             403.     Defendants constantly threatened Hickory's health by improperly altering

     medications causing Hickory harm ultimately leading to Hickory's death causing

     emotional harm to Dyllan Rives and the Rives' family in the furtherance of defendants'

     extortion scheme under color of official right in defendants' self-interest.

                                       REQUESTED RELIEF

             Based on the foregoing actions of the defendants, plaintiffs suffered injury

     entitling them to relief.

             WHEREFORE plaintiffs demand judgment as follows:

             (i).     A jury trial.

             (ii).    Judicial determination that defendants violated the plaintiff Dyllan Rives'

     constitutional rights by acting "under color oflaw" to deprive Dyllan Rives of her

     personal property, Hickory, and by using threats to Hickory as a means of extorting over

     $75000 dollars from the Rives without due process of law, and by denying Dyllan Rives

     equal protection of the law;

             (iii).   Judicial determination that the defendants breached their fiduciary duty

     and duty of care to Dyllan Rives' personal property "Hickory" and entitling plaintiffs to

     restitution of plaintiffs' payments made to UTSAH and other defendants;

             (iv).    Judicial determination that the defendants through an organized scheme

     coordinated to extort more than $75000 dollars, thereby circumventing plaintiff from




                                      57
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 57 of 58 PageID #: 57
     taking Hickory to North Carolina State University, and thus interfering with interstate

     commerce and Dyllan Rives' constitutional rights;

            (v.)     Judicial determination that the defendants' wrongful conduct entitle

     plaintiffs to other equitable and remedial relief as the court may deem appropriate,

     including "but not limited" to prospective injunctive relief removing culpable defendants

     as state actors from positions of trust prospectively; and, injunctive relief requiring

     UTSAH to initiate and install internal procedures which shield client patient care from

     improper influence by business decision-makers;

            (vi).    Statutory sanctions as a result of defendants' violation of Tenn. Code§

     39-14-105 (a)(l)(A) by knowingly and unlawfully causing injury through mistreatment of

     Hickory that resulted in Hickory's death;

            (vii).   Award of costs and a reasonable attorney's fee;

            (viii). Award of compensatory and punitive damages to deter defendants from

     acting unlawfully towards clients in the future; and,

             (ix).   Award plaintiffs any other relief that the court deems appropriate to

     redress the defendants' wrongful actions and/or violations of federal and state law.

                                                                       Respectfully s~l?mitted,
                                                                       _c;;,::-2:5_~_.:;;_~:-~.::,z.___~· _>+
                                                                                                  ~IA""_,
                                                                   ,
                                                                       .   ··
                                                                                 ___,, l
                                                                                      J!   ;,.,




                                                                       Elisa S. Rives LLC
                                                                       ASB # 9351-E61R
                                                                       Attorney for plaintiffs
                                                                       Dyllan M. Rives
                                                                       James R. Rives

     OF COUNSEL:
     Elisa S. Rives, LLC, 1226 Holiday Shores Rd., Scottsboro, AL 35976, Tel: (256) 558-
     4626




                                      58
Case 3:22-cv-00414-DCLC-JEM Document 1 Filed 11/18/22 Page 58 of 58 PageID #: 58
